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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             VALDOSTA DIVISION
UNITED STATES,                               :
                                             :
v.                                           :       CASE NO.: 7:18-cr-7 (WLS)
                                             :
KENNETH VERNON HUTTO,                        :
                                             :
       Defendant.                            :
                                             :
                                            ORDER

       This matter was remanded for re-sentencing and transferred to this Judge on June 4,

2021 at the direction of the United States Court of Appeals for the Eleventh Circuit. (See Docs.

73, 74.) Sentencing was originally set before this Court on July 28, 2021 in Albany, Georgia.

(Doc. 77.) In order to effectively prepare for the sentencing hearing, this Court ordered the

parties to file briefs outlining and discussing any outstanding issues, disputes, and arguments

expected to be raised at the sentencing hearing on July 1, 2021. (Id.)

       The July 28, 2021 sentencing hearing was continued by the order of this Court (Doc.

80) for good cause shown to 2:00 p.m. on Wednesday, September 1, 2021 in Albany, Georgia.

(Doc. 79.) The reason this Court granted that continuance was so counsel for the defense

could procure certain medical records that counsel would present on Defendant’s behalf at

sentencing. (Id.) The Court re-issued the order to file written briefs outlining and discussing

outstanding issues, disputes, and arguments to be raised on August 19, 2021. (Doc. 80.) In

that order the Court ordered the Defendant to file their written brief within seven days and

the Government to respond within five days. (Id.) That order was amended on August 25,

2021 (Doc. 82) – as to the filing deadlines – and the sentencing hearing was continued to be

reset at a later date to allow sufficient time for briefing and response to the revised presentence

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investigation report. (Doc. 81.) The revised draft presentence investigation report was filed

that same day on August 25, 2021 (Doc. 83) and this Court granted the Government’s Motion

for an Additional Decrease for Acceptance on Responsibility (Doc. 84) on September 20, 2021

(Doc. 85.)

       As sufficient time has now passed to review the draft presentence investigation report

and this Court’s September 20, 2021, Order, Counsel for Defendant is hereby ORDERED

to file a written brief outlining and discussing any outstanding issues, disputes, and arguments

expected to be raised at the sentencing hearing within seven days, and no later than October

4, 2021. The Government is ORDERED to respond within five days. Otherwise, defense

counsel shall file a motion for extension explaining why more time is needed. The briefs should

be no longer than twenty (20) pages in length. Since this matter is before the undersigned on

remand after appeal, it is imperative that the Court address the matter appropriately with the

assistance of informed counsel. Therefore, any issue or objection not noted or timely raised

by the ordered briefing is waived and will not be heard by the Court, unless the moving or

objecting party can show that the matter could not be raised timely in accordance to the order

of the Court. Thereafter, the Court will determine if any additional conferences will be

necessary or helpful. If not, the Court will schedule the sentencing hearing.



       SO ORDERED, this _28th__day of September 2021.

                                            /s/ W. Louis Sands
                                            W. LOUIS SANDS, SR. JUDGE
                                            UNITED STATES DISTRICT COURT




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